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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Illinois Republican Party, et al.
                                        Plaintiff,
v.                                                         Case No.: 1:20−cv−03489
                                                           Honorable Sara L. Ellis
J.B. Pritzker
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 4, 2021:


        MINUTE entry before the Honorable Sara L. Ellis: Telephone Conference set for
9/9/2021 at 9:30 AM for ruling on motion to dismiss. Attorneys/Parties should appear for
the hearing by calling the Toll−Free Number: (866) 434−5269, Access Code: 8087837.
Members of the public and media will be able to call in to listen to this hearing (use toll
free number). Please be sure to keep your phone on mute when you are not speaking.
Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of
these prohibitions may result in sanctions, including removal of court issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. Mailed notice(rj, )




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